 Case 1:17-cr-00153-TH Document 147 Filed 06/20/18 Page 1 of 2 PageID #: 406




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
v.                                                  §            CRIMINAL NO. 1:17-CR-153-TH-7
                                                    §            1-3, 5, 6, 8, 10
INES RUBIO-VILLEGAS                                 §




                AMENDED ORDER GRANTING DEFENDANT’S
                 UNOPPOSED MOTION FOR CONTINUANCE
       Before the Court is Defendant Ines Rubio Villegas’s Unopposed Motion for Continuance [Clerk’s Docket
No. 144] filed on June 12, 2018. Having considered the motion, and taking into account that the
government is not opposed to the motion, the Court is of the opinion that the motion should be
granted.

                                  BACKGROUND & FINDINGS

        Defendant Ines Rubio-Villegas was indicted on December 6, 2017 and arraigned February 26,
2018. Counsel for the defendant has represented to this Court that he has had inadequate time to
effectively prepare the case for trial taking into account the voluminous amount of discovery involved.

         The Court FINDS that the ends of justice served by granting the continuance outweigh the best
interests of the public and the defendant to a speedy trial. In order for the period of delay attributable
to this continuance to be excluded from the computation of time within which the trial must commence
pursuant to the SPEEDY TRIAL ACT, it is incumbent upon the Court to set forth the factors taken into
consideration in reaching the ends-of-justice conclusion. See 18 U.S.C. § 3161 (h)(8)(A); see also Zedner
v. United States, 126 S. Ct. 1976, 1988-1991 (2006).

        The Court CONSIDERED the following factors in reaching the ends-of-justice conclusion:

        (1)     failure to grant a continuance would result in a miscarriage of justice (18 U.S.C.
 Case 1:17-cr-00153-TH Document 147 Filed 06/20/18 Page 2 of 2 PageID #: 407



               § 3161 (h)(8)(B)(i)); and

       (2)     failure to grant a continuance would deny counsel for the defense reasonable
               time necessary to effectively prepare the case for trial, taking into account the
               exercise of due diligence (18 U.S.C. § 3161 (h)(8)(B)(iv)).

          Although the continuance was filed by defendant Ines Rubio-Villegas, this order has the effect
of resetting the trial of the other defendants identified by number above as well. The period of delay
resulting from an ends-of-justice continuance granted as to one defendant tolls the SPEEDY TRIAL ACT
with respect to all co-defendants. See United States v. Westbrook, 119 F.3d 1176, 1186 (5th Cir. 1997).
“[T]he excludable delay incurred as a result of one co-defendant’s motion practice applies to the speedy
trial computation of all co-defendants.” United States v. Franklin, 148 F.3d 451, 455 (5th Cir. 1998).

                                               ORDER

        IT IS THEREFORE ORDERED that Defendant Ines Rubio Villegas’s Unopposed Motion for
Continuance [Clerk’s Docket No. 144] is in all things GRANTED.

       IT IS FURTHER ORDERED that this case is RESET for trial on July 16, 2018.

         IT IS FURTHER ORDERED that the period of delay resulting from the continuance of the
trial date shall be EXCLUDED from the computation of time within which the trial of all defendants
must commence pursuant to the SPEEDY TRIAL ACT.

       SO ORDERED.

        SIGNED this the 20 day of June, 2018.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge




                                                  -2-
